
PER CURIAM.
Defendant seeks a belated appeal of the order denying a Rule 3.850 motion following an evidentiary hearing. We grant the petition as the order does not advise defendant that he has 30 days to appeal the decision. See Cardenas v. State, No. 3D00-2616, - So.2d -, 2001 WL 37727 (Fla. 3d DCA Jan.17, 2001), and cited cases. This cause is remanded to the trial court with instructions to treat this court’s mandate as the notice of appeal. Fla.R.App.P. 9.140(j)(5)(D). If petitioner qualifies for appointed counsel, the trial *1219court shall consider appointment of appellate counsel.
Petition granted.
